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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

  UNITED STATES OF AMERICA ex rel.
  JOSEPH SEIKEL and TERENCE SEIKEL,

                Plaintiffs-Relators,

  v.                                                         Civil Action No.: 1:23-CV-1
                                                             (JUDGE KLEEH)
  DAVID B. ALVAREZ,
  APPLIED CONSTRUCTION SOLUTIONS, INC.,
  ENERGY TRANSPORTATION, LLC,
  ENERGY RESOURCE GROUP, LLC,
  ET360, LLC,
  BEAR CONTRACTING, LLC,
  BEAR UTILITIES, LLC,
  JASON P. HENDERSON, and
  JOHN DOES NOS. 1-50,

                Defendants.

  ORDER CONTINUING MOTION HEARING ON PLAINTIFFS-RELATORS’ MOTION
               TO COMPEL [ECF NO. 142], AND DIRECTING
           PARTIES TO MEET AND CONFER PRIOR TO HEARING

         Presently pending before the Court is Plaintiffs-Relators’ motion to compel [ECF No. 142]

  filed on November 20, 2023. By Referral Order [ECF No. 143] entered on November 21, 2023,

  the Hon. Thomas S. Kleeh, Chief United States District Judge, referred the motion [ECF No. 142]

  to the undersigned Magistrate Judge for hearing and disposition.

         The undersigned convened a Motion Hearing, by videoconference, on December 8, 2023,

  at which appeared counsel for Plaintiffs Joseph Seikel and Terence Seikel, Will G. Powers,

  Anthony J. Majestro, Andrew M. Miller, Kenny Capesius; counsel for Defendants David B.

  Alvarez, Applied Construction Solutions, Inc., and Energy Transportation, LLC (“Alvarez

  Defendants”), Rebecca Pomeroy; and counsel for Defendants Energy Resource Group, LLC,

  ET36, LLC, and Jason P. Henderson (“Henderson Defendants”), Shawn A. Morgan.

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         The parties are ORDERED to report back to the Court as to the efforts in obtaining copies

  of the Paycheck Protection Program (PPP) loan application and supporting documentation for the

  Alvarez Defendants and Henderson Defendants from United Bank. All parties agreed that such

  information is necessary and should be shared amongst all parties. Therefore, upon obtaining the

  loan documents, it shall be disclosed to all parties and to the Court by emailing a copy to Magistrate

  Judge Aloi’s Law Clerk, Nakia Ridgeway, at nakia_ridgeway@wvnd.uscourts.gov.

         Accordingly, it is hereby ORDERED that the Motion Hearing concerning the referred

  motion be CONTINUED before the undersigned to January 4, 2024 at 2:00 p.m. at the

  Clarksburg point of holding court, Third Floor, in the Magistrate Judge Courtroom. As the Court

  indicated on the record, the Court will address the parties’ progress in obtaining the above-noted

  files in the Motion Hearing.

         The Motion Hearing will be conducted remotely, using the Court’s Zoom

  videoconferencing/teleconferencing credentials. To join the meeting, participants may connect

  either by video or by telephone. Participants can connect by video by using the following link:

  https://www.zoomgov.com/j/1605681245?pwd=OU1BTDFQUDkraHA4U3Zpd1BIQW0rQT09 .

  Alternatively, participants may connect by telephone by calling (646) 828 7666, then entering

  Meeting ID 160 568 1245 and Passcode 43281. If participants have trouble connecting, they may

  contact the above-noted Law Clerk directly by calling (304) 623-7172 or sending an e-mail to

  nakia_ridgeway@wvnd.uscourts.gov.

         Further, the parties are ORDERED to meet and confer, by telephone or other real-time

  means of communication, as to the pending motion [ECF No. 142] prior to the hearing scheduled

  herein. If the parties resolve all of the matters raised in said motion, counsel for the movant shall

  notify the Court forthwith, by contacting the above-noted Law Clerk. If the parties do not resolve



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  the matters raised in the motion, the Court will inquire as to the same during the aforementioned

  hearing.

         It is all so ORDERED.

         The Clerk of the Court is DIRECTED to provide a copy of this Order to all counsel of

  record, as applicable, as provided in the Administrative Procedures for Electronic Case Filing in

  the United States District Court for the Northern District of West Virginia.

         DATED: December 11, 2023.




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